    Case 2:12-md-02325
           Case WVS/2:13-cv-12185
                        Document 2976
                                  Document
                                      Filed 09/14/16
                                            1 Filed 09/16/16
                                                      Page 1 ofPage
                                                                3 PageID
                                                                    1 of 30
                                                                          #: 27901



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                     INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before April 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

April 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
        Case WVS/2:13-cv-12185
                     Document 2976
                               Document
                                   Filed 09/14/16
                                         1 Filed 09/16/16
                                                   Page 2 ofPage
                                                             3 PageID
                                                                 2 of 30
                                                                       #: 27902



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A. The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2902, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2976
                              Document
                                  Filed 09/14/16
                                        1 Filed 09/16/16
                                                  Page 3 ofPage
                                                            3 PageID
                                                                3 of 30
                                                                      #: 27903



                         EXHIBIT A – CHAFFIN LUHANA

  CIVIL ACTION                                 CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

                     Angela R. Womac and Christopher L. Womac v. American Medical
 2:12-CV-02904       Systems, Inc.
 2:12-CV-07219       Deborah Lyons, Terry Lyons v. American Medical Systems, Inc.
                     Rachel D. Morgan, Dana Morgan v. American Medical Systems,
 2:12-CV-08740       Inc.
 2:13-CV-00455       Maryalice R. Gallegos v. American Medical Systems, Inc.
 2:13-CV-05403       Linda Obermaier v. American Medical Systems, Inc.
                     Cassandra Wahlstrom, Peter Dutcher v. American Medical Systems,
 2:13-CV-08492       Inc.
 2:13-CV-12497       Karleen M. Noel, Kevin Noel v. American Medical Systems, Inc.
 2:13-CV-13584       Tedi S. Elliott v. American Medical Systems, Inc.
    Case 2:12-md-02325
           Case WVS/2:13-cv-12185
                        Document 2975
                                  Document
                                      Filed 09/14/16
                                            1 Filed 09/16/16
                                                      Page 1 ofPage
                                                                3 PageID
                                                                    4 of 30
                                                                          #: 27898



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                     INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before April 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

April 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
        Case WVS/2:13-cv-12185
                     Document 2975
                               Document
                                   Filed 09/14/16
                                         1 Filed 09/16/16
                                                   Page 2 ofPage
                                                             3 PageID
                                                                 5 of 30
                                                                       #: 27899



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2903, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2975
                              Document
                                  Filed 09/14/16
                                        1 Filed 09/16/16
                                                  Page 3 ofPage
                                                            3 PageID
                                                                6 of 30
                                                                      #: 27900



       EXHIBIT A – FRANKOVITCH ANETAKIS COLANTONIO & SIMON

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:13-CV-18598       Beverly Joan Lough, William Lough v. American Medical Systems,
                     Inc.
 2:13-CV-18613       Patricia J. Ornelas v. American Medical Systems, Inc.
 2:13-CV-18623       Olivia O. Dotson, John Dotson v. American Medical Systems, Inc.
 2:13-CV-18640       Allison Swindlehurst, John R. Swindlehurst III v. American Medical
                     Systems, Inc.
 2:13-CV-18689       Cleva J. Chambers v. American Medical Systems, Inc.
 2:13-CV-18751       Roberta L. McClintick, Nick DeAlexandro v. American Medical
                     Systems, Inc.
 2:13-CV-18756       Margaret C. Douglass, Jeffrey H. Douglass v. American Medical
                     Systems, Inc.
 2:13-CV-18769       Barbara Ann Vickers v. American Medical Systems, Inc.
 2:13-CV-19510       Christine Dalton v. American Medical Systems, Inc.
 2:13-CV-19911       Lynn Futral, Donald Futral v. American Medical Systems, Inc.
 2:14-CV-11812       Sandra L. Schaublin v. American Medical Systems, Inc.
 2:14-CV-27895       Laurie J. Sweeney, Bruce R. Sweeney v. American Medical
                     Systems, Inc.
 2:15-CV-02882       Sharon M. Bond, Charles Bond v. American Medical Systems, Inc.
    Case 2:12-md-02325
           Case WVS/2:13-cv-12185
                        Document 2974
                                  Document
                                      Filed 09/14/16
                                            1 Filed 09/16/16
                                                      Page 1 ofPage
                                                                3 PageID
                                                                    7 of 30
                                                                          #: 27895



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                      INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before April 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

April 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
        Case WVS/2:13-cv-12185
                     Document 2974
                               Document
                                   Filed 09/14/16
                                         1 Filed 09/16/16
                                                   Page 2 ofPage
                                                             3 PageID
                                                                 8 of 30
                                                                       #: 27896



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2905, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2974
                              Document
                                  Filed 09/14/16
                                        1 Filed 09/16/16
                                                  Page 3 ofPage
                                                            3 PageID
                                                                9 of 30
                                                                      #: 27897



                       EXHIBIT A – MONSOUR LAW FIRM

  CIVIL ACTION                                 CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:12-CV-08111       Kelly Hunt McClafferty, Kevin McClafferty v. American Medical
                     Systems, Inc.
 2:13-CV-03526       Carolyn Carmichael Grady v. American Medical Systems, Inc.
 2:13-CV-03547       Rosalinda Lopez v. American Medical Systems, Inc.
 2:13-CV-23846       Christine Knope v. American Medical Systems, Inc.
 2:13-CV-23871       Wanza M. Cole v. American Medical Systems, Inc.
 2:13-CV-26888       Sharlene Bottom v. American Medical Systems, Inc.
 2:13-CV-30212       Lori Andersen v. American Medical Systems, Inc.
 2:14-CV-05493       Jennie Laura Crays v. American Medical Systems, Inc.
 2:14-CV-10544       Denise Lynn Goble v. American Medical Systems, Inc.
 2:14-CV-18532       Catherine Rollins v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2973
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  10 of 30
                                                                         #: 27892



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                     INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before April 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

April 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2973
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               11 of 30
                                                                      #: 27893



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2906, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2973
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              12 of 30
                                                                     #: 27894



                             EXHIBIT A – PHILLIPS LAW

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

2:12-CV-00970        Marlene R. Patterson v. American Medical Systems, Inc.
2:12-CV-01015        Patricia L. DeVito and Joseph V. DeVito v. American Medical
                     Systems, Inc.
2:12-CV-01195        Brenda J. Varga, Johann Varga v. American Medical Systems, Inc.
2:12-CV-01280        Joan M. Jestilla v. American Medical Systems, Inc.
2:12-CV-01411        John Tobin, Sr., as Administrator of the Estate of Susan Tobin v.
                     American Medical Systems, Inc.
2:12-CV-01550        Amber J. Youngs and Kraig Youngs v. American Medical Systems,
                     Inc.
2:12-CV-02004        Janette Carollo v. American Medical Systems, Inc.
2:12-CV-03214        Karen Muter and James Muter v. American Medical Systems, Inc.
2:12-CV-03290        Dorothy Gay v. American Medical Systems, Inc.
2:12-CV-03848        Nancy D. Curley and Patrick Curley v. American Medical Systems,
                     Inc.
2:12-CV-04102        Marie Spaulding v. American Medical Systems, Inc.
2:12-CV-05065        Jean E. Shaw v. American Medical Systems, Inc.
2:12-CV-05282        Deborah Flannigan v. American Medical Systems, Inc.
2:12-CV-06309        Jacqueline Almanza, Alfredo Almanza v. American Medical Systems,
                     Inc.
2:12-CV-09107        Jeanne Keiler v. American Medical Systems, Inc.
2:13-CV-00902        Janice Woods, Charles Woods v. American Medical Systems, Inc.
2:13-CV-11156        Lisa Titch, Raymond Titch v. American Medical Systems, Inc.
2:13-CV-12185        Michelle Alter, Michael Alter v. American Medical Systems, Inc.
2:13-CV-13877        Gwendolyn Browning v. American Medical Systems, Inc.
2:13-CV-26041        Eleni Giannakopoulos, Gus Giannakopoulos v. American Medical
                     Systems, Inc.
2:13-CV-26050        Linda Richards v. American Medical Systems, Inc.
2:14-CV-09631        Cindy Beard, Gary Beard v. American Medical Systems, Inc.
2:14-CV-11790        Carla Caccamo, Thomas Caccamo v. American Medical Systems, Inc.
2:14-CV-19072        Christine Foy, Terrence Foy v. American Medical Systems, Inc.
2:14-CV-26150        Angela Alexander v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2979
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  13 of 30
                                                                         #: 27924



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                     INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before October 31, 2017; if settlements are not finalized and dismissal orders are not submitted

by October 31, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2979
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               14 of 30
                                                                      #: 27925



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2931, send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2979
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              15 of 30
                                                                     #: 27926



                           EXHIBIT A – DAVIS & CRUMP

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:12-CV-08815       Eula Lewis v. American Medical Systems, Inc.
 2:13-CV-00018       Vickie Byrne, James Byrne v. American Medical Systems, Inc.
 2:13-CV-00055       Jacqueline Watkins McKnight v. American Medical Systems, Inc.
 2:13-CV-22122       Judith Savard, Michael Savard v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2989
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  16 of 30
                                                                         #: 27949



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                       INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before October 31, 2017; if settlements are not finalized and dismissal orders are not submitted

by October 31, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2989
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               17 of 30
                                                                      #: 27950



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2932, send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2989
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              18 of 30
                                                                     #: 27951



                           EXHIBIT A – MUELLER LAW

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:12-CV-00814       Betina Wilson v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2990
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  19 of 30
                                                                         #: 27952



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                    INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before October 31, 2017; if settlements are not finalized and dismissal orders are not submitted

by October 31, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2990
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               20 of 30
                                                                      #: 27953



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No. 2933,

and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2990
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              21 of 30
                                                                     #: 27954



EXHIBIT A – LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY & PROCTOR

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:12-CV-05989       Diane Hicks v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2977
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  22 of 30
                                                                         #: 27904



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                       INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before April 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

April 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2977
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               23 of 30
                                                                      #: 27905



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2934, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2977
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              24 of 30
                                                                     #: 27906



                         EXHIBIT A – RISCASSI & DAVIS

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:13-CV-21928       Marilyn Raines, Randall Raines v. American Medical Systems, Inc.
 2:14-CV-05605       Sandra Liebler, Donald Liebler v. American Medical Systems, Inc.
 2:14-CV-24916       Sandra Thibodeau v. American Medical Systems, Inc.
 2:14-CV-24918       Lisa Cidela, William Cidela v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2992
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  25 of 30
                                                                         #: 27957



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                     INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before August 31, 2017; if settlements are not finalized and dismissal orders are not submitted by

August 31, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2992
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               26 of 30
                                                                      #: 27958



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2938, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2992
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              27 of 30
                                                                     #: 27959



                         EXHIBIT A – LOWE LAW GROUP

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

 2:14-CV-11325       Cheryl Greenwell v. American Medical Systems, Inc.
    Case 2:12-md-02325
          Case WVS/2:13-cv-12185
                       Document 2994
                                 Document
                                     Filed109/14/16
                                             Filed 09/16/16
                                                     Page 1 of
                                                            Page
                                                               3 PageID
                                                                  28 of 30
                                                                         #: 27962



                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2325
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                      INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and American Medical Systems, Inc.1 ("AMS") have agreed to a settlement model

with regard to AMS. The Court, therefore, finds it unnecessary to conduct further proceedings or

to keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and AMS may submit an agreed order of dismissal with prejudice on or

before October 31, 2017; if settlements are not finalized and dismissal orders are not submitted

by October 31, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

1
 American Medical Systems, Inc. includes any incorrect or incomplete spellings of this Defendant, and any
American Medical Systems, Inc. entities.
 Case 2:12-md-02325
       Case WVS/2:13-cv-12185
                    Document 2994
                              Document
                                  Filed109/14/16
                                          Filed 09/16/16
                                                  Page 2 of
                                                         Page
                                                            3 PageID
                                                               29 of 30
                                                                      #: 27963



will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The         Court         DIRECTS the Clerk to file a copy of this order in MDL No.

2325 and in the individual cases listed on the attached Exhibit A.        The Clerk is further

DIRECTED to link this Order to the Proposed Inactive Docket Order filed at ECF No.

2939, and send a copy of this Order to counsel of record and any unrepresented party.
Case 2:12-md-02325
      Case WVS/2:13-cv-12185
                   Document 2994
                             Document
                                 Filed109/14/16
                                         Filed 09/16/16
                                                 Page 3 of
                                                        Page
                                                           3 PageID
                                                              30 of 30
                                                                     #: 27964



                           EXHIBIT A – BEASLEY ALLEN

  CIVIL ACTION                                  CASE NAME
  NUMBER (listed
   numerically in
  ascending order)

                     Linda Hanawalt, Jeffrey Hanawalt v. American Medical Systems,
 2:13-CV-20347       Inc.
